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                 IN THE UNITED STATES DISTRICT FOR
                   THE WESTERN DISTRICT OF TEXAS
                       SAN ANTONIO DIVISION

 H O L C O M B E , et. al,                       NO. 5:18-CV-00555-XR
                                                   (consolidated cases)
 Plaintiffs

 vs.

 UNITED STATES OF
 AMERICA,

 Defendant



                       SANCTIONS STIPULATION

       The Court in the above styled action ordered sanctions against the
United States. The United States filed a motion to reconsider sanctions,
which was denied on November 5, 2019. ECF No. 161.

       The Parties agree to calculate the value of the sanction as described here.
In agreeing to the amount to be paid to Plaintiffs’ counsel, the United States

reserves its right to appeal the imposition of sanctions against it. Plaintiffs’
counsel does not agree that the hourly rates detailed here represent the rea-
sonable, usual, and customary amounts that counsel would charge, if billed
hourly, using the specific factors outlined in Johnson v. Georgia Highway Ex-
press, Inc., 488 F.2d 714 (5th Cir. 1974). However, the Court specifically in-
structed the Parties to calculate the hourly rate for the limited purpose of de-
termining the financial value of a discovery sanction by using the median
hourly rates for the San Antonio Region by years of experience published by
the Texas State Bar as follows:

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LAWYER                CATEGORY              RATE          TOTAL


Jamal K. Alsaffar     16-20 years           $284.00      $426.00


Tom Jacob             7-10 years            $250.00      $375.00


April A. Strahan      11-15 years           $250.00      $375.00


Daniel D. Barks       21-25 years           $288.00      $432.00


Dennis C. Peery       25+ years             $300.00      $450.00


Daniel J. T. Sciano   25+ years             $300.00      $450.00


Justin B. Demerath    16-20 years           $284.00      $426.00


Brett T. Reynolds     25+ years             $300.00      $450.00


George L. Legrand     25+ years             $300.00      $450.00


Jorge A. Herrera      11-15 years           $250.00      $375.00


Dennis Bentley        7-10 years            $250.00      $375.00


Kelly W. Kelly        16-20 years           $284.00      $426.00


                                               Total:   $5,010.00




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                              Agreed to on behalf of the United
                              States:


                              /s/ Paul David Stern
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Agreed to on behalf of Plaintiffs:

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                   CERTIFICATE OF SERVICE

    By our signatures above, we certify that a copy of Sanctions Stipulation
has been sent to the following on November 22, 2019 via the Court’s CM/ECF
notice system.



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United States Dept. of Justice              United States Attorney’s Office
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Civil Division                              Civil Division
CLAYTON R. DIEDRICHS                        JAMES E. DINGIVAN
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